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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION
MARY B. HOIG, Individually, and
MARY B. HOIG, as Personal
Representative of the ESTATE OF LEE      Case No. 2:19-CV-10101
ALBERT HOIG, Deceased,
                                         Hon. Terrence G. Berg
           Plaintiff,
                                         Magistrate Judge Elizabeth A.
vs.                                      Stafford

AETNA LIFE INSURANCE COMPANY,

          Defendant.
__________________________________/


                          NOTICE OF APPEARANCE
TO THE CLERK OF COURTS:
           Kindly enter my appearance on behalf of Defendant.

                                         s/    Brian P. Downey
                                         Brian P. Downey
                                         PEPPER HAMILTON LLP
                                         100 Market Street, Suite 200
                                         Harrisburg, PA 17101
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                                         Attorneys for Defendant
Dated: January 22, 2019                  Aetna Life Insurance Company
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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
MARY B. HOIG, Individually, and
MARY B. HOIG, as Personal
Representative of the ESTATE OF LEE           Case No. 2:19-CV-10101
ALBERT HOIG, Deceased,
                                              Hon. Terrence G. Berg
               Plaintiff,
                                              Magistrate Judge Elizabeth A.
vs.                                           Stafford

AETNA LIFE INSURANCE COMPANY,

          Defendant.
__________________________________/

                            CERTIFICATE OF SERVICE
               I hereby certify that on the 22nd day of January, 2019, a copy of the

foregoing was filed electronically with the United States District Court, Eastern

District of Michigan, and notice will be sent by operation of the Court’s electronic

filing system to all ECF participants, and notice will be sent via U.S. Mail, postage

prepaid, to:

         BRIAN R. SCHROPE
         Law Office of Brian R. Schrope, P.C.
         367 North State Street
         Caro, MI 48723
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                                          Respectfully submitted,

                                          s/ Brian P. Downey
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